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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                FORT PIERCE DIVISION

                           Case No. 24-cv-14153-CANNON/SMM

   KIMBERLY MARASCO

          Plaintiff,

   v.

   TAYLOR SWIFT PRODUCTIONS, INC.

          Defendant.



        DEFENDANT’S MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                  AND INCORPORATED MEMORANDUM OF LAW
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          Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Taylor Swift Productions,

  Inc. (“Defendant” or “TSP”) moves this Court for an Order dismissing with prejudice Plaintiff

  Kimberly Marasco’s (“Plaintiff’s”) Second Amended Complaint (“SAC”) [ECF 42]. In support of its

  Motion, Defendant states as follows:

                                            INTRODUCTION

          Plaintiff has failed on her third and “final opportunity to plead her claims” [ECF 41], and

  her claims remain, as they have always been, utterly baseless. To state a claim for copyright

  infringement, Plaintiff must plausibly allege that Defendant copied protectible elements of Plaintiff’s

  compositions. Plaintiff failed to do this in all three of her complaints. Plaintiff’s original complaint was

  dismissed as a shotgun pleading and for failing to state a claim. [ECF 20 at 5–10, ECF 23]. After two

  more attempts to state any cognizable claim, Plaintiff’s allegations still fail for several reasons:

  (1) Plaintiff has failed to identify any copyright infringement by TSP; (2) the allegedly infringed

  elements in Plaintiff’s poems are not protected by copyright law, as Plaintiff still confuses “expression”

  with metaphors, themes, contexts, ideas, and single words or short lines despite it being black letter

  copyright law that these elements are not protected expression (for instance, neither the metaphor of

  being submerged underwater nor the word “love” are protected by copyright law); (3) Plaintiff still

  fails to plausibly plead unlawful copying—failing to show both access and substantial or striking

  similarity between the works—for all thirteen counts; and (4) more than half of Plaintiff’s claims are

  time-barred. In sum, Plaintiff’s claims remain entirely unfounded, and her “final opportunity” to state

  a claim fails. At this juncture, dismissal with prejudice is required.

                 ALLEGATIONS OF THE SECOND AMENDED COMPLAINT

          Plaintiff is the author and copyright owner of two poetry books: Dealing with a Chronic




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  Illness: Vestibular Neuritis (“Dealing”) and Fallen from Grace (“Fallen”). [ECF 42 ¶¶ 2, 14, 15]. 1

  Plaintiff obtained copyright registration for Dealing on July 11, 2017, under registration number

  TXu2-061-218, and Fallen on May 27, 2020, under registration number TXu2-200-550. [Id. ¶¶ 14,

  15; ECF 42-2]. Plaintiff alleges that Dealing was “published and offered for sale to the public in

  2018 by Outskirts Press” under a “contract that ended in 2019” and thus, “is no longer available

  online.” [ECF 42 ¶¶ 14, 64]. She further alleges that “[a]nother publisher, Ukiyoto, re-published

  (Dealing, 2018) in 2019” which “may still be purchased via their outlets.” [Id. ¶ 64]. Plaintiff

  alleges that Fallen (renamed “Songs of the Unsung”) was “self-published and available on Amazon

  KDP . . . in 2019.” [Id. ¶¶ 2, 15, 64]. Plaintiff claims that she has “published and sold copies of the

  Works on Amazon and other online outlets,” and that Defendant “had access to the Works due to

  the Works being published for wide dissemination via online websites as well as publishing

  companies” and being “publicly available for sale online.” [Id. ¶¶ 17, 66]. She fails, however, to

  provide any facts that these publishers could widely disseminate the works, or which “other online

  outlets” offered the books for sale, how many copies were published and sold, and for how long

  the books were available for purchase.

         Plaintiff alleges that “[o]n information and belief, TSP infringed Plaintiff’s exclusive

  rights . . . by creating video content using the infringing derivative songs, distributing copies of

  the works, and publicly performing infringing derivative songs online and in concert.” [Id. ¶ 69].

  Based on this, she asserts thirteen counts of purported copyright infringement. [Id. ¶ 26]. The

  counts include allegations of copying of (i) ubiquitous metaphors found in numerous forms of

  expression (for example, “a person falsely led to believe in love”); and/or (ii) individual words or



  1
   For purposes of this Motion only, Defendant accepts the non-conclusory, factual allegations in the
  SAC as true. To be clear, Defendant vigorously disagrees with and contests those allegations.

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  short phrases plucked from random spots within the works (for example, “tears,” “running,”

  “mean,” and “it’s time to go”) [id. ¶¶ 27–52], both of which the Court has already ruled are

  insufficient to plead copyright infringement and are not afforded copyright protection in any

  circumstance. [ECF 20 at 8–9]; 37 C.F.R. § 202.1(a). While Plaintiff alleges Defendant’s works 2

  are both substantially and strikingly similar to Plaintiff’s works because they allegedly share the

  same unprotected ideas, individual words, or short phrases, a cursory comparison of the works

  shows there are no similarities between any of the identified works. Full lyrics of each of the

  allegedly infringing songs identified in the SAC are included as Exhibit A. 3

                                          LEGAL STANDARD

            To survive a motion to dismiss under Rule 12(b)(6), Plaintiff “must plead sufficient facts

  to show entitlement to relief and must plead ‘more than labels and conclusions’ [as] a formulaic

  recitation of the elements of a cause of action will not do.’” Sieger Suarez Architectural P’ship,

  Inc. v. Arquitectonica Int’l Corp., 998 F. Supp. 2d 1340, 1345 (S.D. Fla. 2014) (quoting Bell

  Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Rather, “a complaint must contain sufficient

  factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). “All litigants, pro se or not,

  must comply with the Federal Rules of Civil Procedure.” Jackson v. JPay Corp., No. 19-cv-20341,

  2020 WL 5264514, at *1 (S.D. Fla. July 27, 2020), aff’d, 851 F. App’x 171 (11th Cir. 2021). When

  reviewing a pro se plaintiff’s complaint, “the court does not have license to serve as de facto



  2
      As explained below, the songs at issue are in fact not Defendant’s works. See infra Section A.
  3
    “Courts may consider materials that are incorporated by reference into a complaint without
  converting a motion to dismiss to a motion for summary judgment if the document is (1) central
  to plaintiff’s claim and (2) undisputed.” Hubbard v. BankAtlantic Bancorp, Inc., 625 F. Supp. 2d
  1267, 1279 (S.D. Fla. 2008); Reeves v. United States, 526 F. Supp. 3d 1226, 1233 (S.D. Fla. 2021).

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  counsel for a party or to rewrite an otherwise deficient pleading in order to sustain an action.” Id.

                                             ARGUMENT

     A. The Court Should Dismiss the SAC with Prejudice Because Plaintiff Has Not
        Identified Copyright Infringement by TSP.

         Plaintiff does not sufficiently allege copyright infringement by Defendant for two distinct

  reasons, and thus, dismissal with prejudice should be granted.

         First, a suit for copyright infringement must be based on the infringement of a copyright

  owner’s exclusive rights under the Copyright Act: (1) reproduce copyrighted work in copies, (2)

  prepare derivative works, (3) distribute copies, (4) publicly perform the copyrighted work, (5)

  publicly display the copyrighted work, or (6) publicly perform the copyrighted work by means of

  digital audio transmission. 17 U.S.C. § 106. If, as here, the defendant has not taken any actions to

  infringe upon one of these rights, that defendant cannot be liable for copyright infringement. See

  Thompson v. Looney’s Tavern Prods., Inc., 204 F. App’x 844, 852 (11th Cir. 2006) (involving pro

  se plaintiff); Burroughs Payment Sys., Inc. v. Symco Grp., Inc., No. 1:10-cv-03029, 2011 WL

  13217738, at *2 (N.D. Ga. Dec. 13, 2011) (dismissing copyright infringement claim where

  plaintiff did not allege defendant violated plaintiff’s exclusive rights).

         Plaintiff admits that the purported infringing act of creating the allegedly infringing works

  for eleven of the thirteen claims (Counts II–VIII and X–XIII) is attributed to an entity other than

  Defendant. [ECF 42 ¶¶ 27–52; ECF 42-4 at 1 (identifying Taylor Swift (“Artist”) as the author of

  the allegedly infringing works)]. In these counts, Plaintiff claims the allegedly infringing songs

  and one Instagram caption are similar to her poems and thus infringe upon her rights; however,

  Plaintiff does not (and cannot) allege that TSP created the songs or caption. [ECF 42 ¶¶ 27–52].

  Indeed, Defendant is “an in-house visual media production company” and took no part in creating

  musical compositions or Instagram captions, but rather produces music videos and motion


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  pictures. [See id. ¶ 70 (stating that the allegedly infringing music belongs to and was performed

  by Artist, and “the related videos [were] produced by TSP”)]. Clearly, Defendant has absolutely

  nothing to do with the creation of the allegedly infringing songs and Instagram caption that serve

  as the basis for eleven of Plaintiff’s claims.

         Second, Plaintiff’s conclusory allegations of copyright infringement by Defendant based

  “on information and belief” are insufficient to state a claim. Scott v. Experian Info. Sols., Inc., No.

  18-cv-60178, 2018 WL 3360754, at *6 (S.D. Fla. June 29, 2018) (“Conclusory allegations made

  upon information and belief are not entitled to a presumption of truth, and allegations stated upon

  information and belief that do not contain any factual support fail to meet the Twombly standard.”);

  United Am. Corp. v. Bitmain, Inc., 530 F. Supp. 3d 1241, 1261 n.21 (S.D. Fla. 2021). Plaintiff

  alleges “[o]n information and belief,” that TSP infringed upon her poems by “creating video

  content using the infringing derivative songs, distributing copies of the works, and publicly

  performing the infringing derivative songs online and in concerts.” [ECF 42 ¶ 69; see id. ¶ 18].

  Thus, Plaintiff’s key allegations of TSP’s purported infringement are solely made upon

  “information and belief.” [Id. ¶¶ 18, 21, 69, 71–72]. These allegations are unsupported by any

  specific facts and thus, fail to satisfy the Twombly standard. See, e.g., United Am. Corp., 530 F.

  Supp. 3d at 1261 n.21; Misquith v. Borrego, No. 20-cv-81123, 2022 WL 782545, at *3 (S.D. Fla.

  Mar. 15, 2022) (“Plaintiff’s ‘upon information and belief’ allegation[s] [are] simply a variation of

  pleading an element of a cause of action without factual support and will not withstand a motion

  to dismiss.”), aff’d, 2023 WL 2156635 (11th Cir. Feb. 22, 2023); George & Co., LLC v.

  Alibaba.com, Inc., No. 2:10-cv-719, 2011 WL 6181940, at *3 (M.D. Fla. Dec. 13, 2011).

     B. The Court Should Dismiss the SAC with Prejudice Because the Allegedly Infringed
        Elements are Not Protected Elements of Expression.

         Plaintiff claims infringement of the same non-copyrightable elements as alleged in her

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  earlier complaints; and does not cure the fact that Plaintiff’s allegedly infringed upon elements are

  not protectible under copyright law. In this regard, nothing has changed from Plaintiff’s last two

  unsuccessful attempts to allege infringement, and Plaintiff’s claims again fail for this reason.

         To state a claim for copyright infringement, Plaintiff must plead that Defendant “copied

  protectible elements of the plaintiff’s composition.” Davis v. Raymond, No. 12-cv-22578, 2012

  WL 12868729, at *2 (S.D. Fla. Nov. 30, 2012). Protectible elements are “elements of the work

  that are original.” Sieger Suarez, 998 F. Supp. 2d at 1345; Feist Publ’ns, Inc. v. Rural Tel. Serv.

  Co., 499 U.S. 340, 361 (1991). Elements are original if they were “independently created by the

  author” and “possess[] at least some minimal degree of creativity.” Feist, 499 U.S. at 346.

  “Copyright protection does not automatically extend to every component of a copyrighted work,

  and, sometimes, elements of a work that a plaintiff seeks to protect are objectively not

  copyrightable.” Brandon v. New Power Generation, No. 15-cv-22738, 2017 WL 1437560, at *4

  (S.D. Fla. Apr. 3, 2017). Simply put, a “copyright is limited to those aspects of the work—termed

  ‘expression’—that display the stamp of the author’s originality.” Harper & Row Publishers, Inc.

  v. Nation Enterprises, 471 U.S. 539, 547 (1985).

         Plaintiff’s allegations have not substantively changed in her three separate complaints in

  this matter, and thus she again fails to plead copyright infringement of protected elements of

  expression. [See ECF 42 ¶¶ 27–52; ECF 20 at 8–9 (“As written, the Complaint primarily seeks

  copyright protection for general ideas, themes, and metaphors that show up commonly in music

  and poetry. That is insufficient.”)]. For example, Plaintiff still alleges the infringed elements are

  Plaintiff’s ideas about “a woman being gaslighted,” “a person communicating with someone who

  is deceased,” “a person being falsely led to believe in love,” and “a unique reference to actually

  being the rain/storm which is an original expression.” [ECF 42 ¶¶ 32, 34, 36]. Fatal to Plaintiff’s



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  claims, “[i]n no case does copyright protection for an original work of authorship extend to any

  idea, procedure, process, system, method of operation, concept, principle, or discovery, regardless

  of the form in which it is described, explained, illustrated, or embodied in such work.” 17 U.S.C.

  § 102(b); 37 C.F.R. § 202.1(b); [see also ECF 20 at 8–9]. Specifically, noncopyrightable elements

  include metaphors, contexts, and themes. See Portionpac Chemical Corp. v. Sanitech Sys., Inc.,

  217 F. Supp. 2d 1238, 1246 (M.D. Fla. 2002); Singleton v. Dean, 611 F. App’x 671, 672 (11th Cir.

  2015) (affirming Rule 12 dismissal of pro se plaintiff’s complaint because the “alleged similarities

  either do not exist or concern broad ideas”). Plaintiff alleges Defendant infringed upon metaphors,

  themes, contexts, or ideas from Plaintiff’s poems, which are not protected expression and are thus,

  impossible to infringe upon. 4 [ECF 20 at 8–9].

         Additionally, Plaintiff continues to allege several instances of copyright infringement of

  individual words, short phrases, or single lines present in her poems—elements that this Court has

  already ruled are not protected. [ECF 20 at 8–9]. For example, Plaintiff alleges that the allegedly

  infringing works are substantially similar to Plaintiff’s poems because they use the same words

  present in her poems, including: “tears,” “yelling,” “running,” “fear,” “time,” “rain,” “sky,”

  “waves,” “cruel,” “mean,” “desire,” “love,” “invisible,” and short lines including “flesh and

  blood,” and “it’s time to go.” [ECF 42 ¶¶ 27–52]. It is well-established that “[w]ords and short

  phrases” are not copyrightable and therefore, cannot be infringed upon. 37 C.F.R. § 202.1(a); see

  Vallejo v. Narcos Prods. LLC, 833 F. App’x 250, 259 n.3 (11th Cir. 2020) (concluding even

  “almost identical” copying of “short phrases” cannot be protected because they “are not subject to


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    The SAC includes a conclusory, unsupported allegation that Defendant has “appropriated either
  ‘verbatim or through close paraphrasing’ at least twenty-five to thirty percent of Plaintiff’s
  Works.” [ECF 42 ¶ 23]. But in stark contrast, Plaintiff proceeds to allege for each count that the
  “unique expressions” allegedly infringed upon are actually basic themes, messages, or metaphors
  in her poems [Id. ¶¶ 27–52], not verbatim copying of twenty-five to thirty percent of her poems.

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  copyright protection”); Brandon, 2017 WL 1437560, at *4 (dismissing claim under Rule 12 and

  holding short phrases are “not copyrightable, and [are] not an appropriate basis for claiming

  ‘substantial similarity’ for the purposes of an infringement claim”). These examples of alleged

  infringement are also not actionable because short phrases and single words are not protected

  expression and are thus, impossible to infringe upon.

     C. The Court Should Dismiss the SAC with Prejudice Because Plaintiff Has Again Failed
        to Plausibly Plead Unlawful Copying.

         Plaintiff also fails, for a third time, to plausibly plead unlawful copying for any of her

  poems. To state a claim for copyright infringement, Plaintiff must plead copying of protected

  elements of expression in her works through direct or indirect evidence. See Sieger Suarez, 998 F.

  Supp. 2d at 1345. Direct evidence of copying is rare and “includes admissions that the work was

  reproduced or witness testimony indicating that the copying was observed or recorded.” BWP

  Media USA Inc. v. HipHopzilla, Inc., No. 1:14-cv-0016, 2016 WL 4059682, at *2 (N.D. Ga. Mar.

  1, 2016). There are no such allegations in the SAC. [See ECF 42]. Where, as here, there are no

  allegations of direct evidence of copying, Plaintiff may establish copying by demonstrating that

  Defendant had access to Plaintiff’s work and that the works are “so substantially similar . . . that

  an average lay observer would recognize the alleged copy as having been appropriated from the

  original work.” Calhoun v. Lillenas Publ’g, 298 F.3d 1228, 1232 (11th Cir. 2002) (involving pro

  se plaintiff). Plaintiff has not and cannot do so.

                 1. Access

         Access requires Defendant to have had a “reasonable opportunity to view” Plaintiff’s

  works. Dixon v. Sony Corp. of Am., No. 12-cv-60160, 2012 WL 1886550, at *2 (S.D. Fla. May

  23, 2012); Herzog v. Castle Rock Ent., 193 F.3d 1241, 1249 (11th Cir. 1999). A “bare possibility”

  of access is insufficient and it is well settled that “mere speculation or conjecture is not enough.”


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   Brandon, 2017 WL 1437560, at *7 (citing Herzog, 193 F.3d at 1249). To plead access, Plaintiff

   must plausibly allege “either that the infringed work has been widely disseminated, or that it is

   reasonable to infer from a particular chain of events that the defendant gained access to the

   copyrighted work.” Davis, 2012 WL 12868729, at *3 (quoting Lassin v. Island Def Jam Music

   Group, No. 04-cv-22320, 2005 WL 5632056, at *5 (S.D. Fla. Aug. 9, 2005)). Plaintiff has done

   neither here.

          Plaintiff alleges that Dealing was “published and offered for sale to the public in 2018 by

   Outskirts Press” under a “contract that ended in 2019” and thus, “is no longer available online.”

   [ECF 42 ¶¶ 14, 64]. She further alleges that “[a]nother publisher, Ukiyoto, re-published (Dealing,

   2018) in 2019” which “may still be purchased via their outlets.” 5 [Id. ¶ 64]. Plaintiff also alleges

   that Fallen (renamed “Songs of the Unsung”) was “self-published and available on Amazon KDP

   . . . in 2019.” [Id. ¶¶ 2, 15, 64]. Plaintiff purports that she has “published and sold copies of the

   Works on Amazon and other online outlets” and that Defendant “had access to the Works due to

   the Works being published for wide dissemination via online websites as well as publishing

   companies” and being “publicly available for sale online.” [Id. ¶¶ 17, 66]. Plaintiff further claims

   that she has “proof of hundreds of purchases but this is not necessary to show access.” [Id. ¶ 58].

   These allegations are conclusory and insufficient to establish access.

          Plaintiff’s allegations that she self-published Dealing and Fallen, and conclusory allegation

   that the works were “published for wide dissemination” with no facts plausibly demonstrating such

   wide dissemination (such as how many works were sold, for how long her works were sold, or




   5
     Dealing is not currently available on Ukiyoto’s website. See https://www.ukiyoto.com/search-
   results?q=%22dealing+with+a+chronic+illness%22&type=products (last visited Jan. 21, 2025).

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   whether the works are still even available 6), does not plausibly allege that her books were widely

   disseminated to allow for any reasonable inference that Defendant saw her works. 7 See Dixon,

   2012 WL 1886550, at *3 (“While the Complaint states that [pro se] Plaintiff’s work was ‘widely

   disseminated,’ the Complaint does not allege any other specific facts suggesting that Defendant

   would have had access to his work.”); Lassin, 2005 WL 5632056, at *5–6 (holding that a song was

   not widely disseminated where it was distributed to a limited group; “never commercially released

   on a record album” or “published by a music publishing company[;] and never played by a FCC

   licensed radio station”); White v. Alcon Film Fund, LLC, 52 F. Supp. 3d 1308, 1318 (N.D. Ga.

   2014) (finding plaintiff’s allegation that his works “have been published, distributed and sold

   throughout the United States” insufficient, especially where courts have held selling roughly

   17,000 copies in 13 years is not wide dissemination). Further, Plaintiff does not allege that

   Defendant saw the books, worked with or had connections to the two self-publishing companies,

   or that Defendant had any other connection at all to the distribution of the self-published works, to

   plausibly allege Defendant gained access through some particular chain of events. [See ECF 42];

   Davis, 2012 WL 12868729, at *3.

          Plaintiff’s conclusory allegations do not even rise to a bare possibility that Defendant had

   access to the books. Plaintiff has failed to alleged access and the SAC should be dismissed.


   6
     Currently, neither of Plaintiff’s books are available to view or purchase online on any website,
   including Amazon, Barnes & Noble, Books-A-Million, Indie Bound, or Thrift Books. For websites
   where the book appears, the websites state that Plaintiff’s books are either “out of stock” or “out
   of      print.”     See,      e.g.,     https://www.amazon.com/Songs-Unsung-Stories-Folklore-
   Luminary/dp/B08N3KQC8S;
   https://books.google.com/books/about/Fallen From Grace Character Assassinatio.html?id=8fH
   IzQEACAAJ.
   7
    Plaintiff admits that Fallen was actually produced and sold under a different name—Songs of the
   Unsung. [ECF 42 ¶ 15]. The allegation that Songs of the Unsung was offered for sale and sold—
   not Fallen—further refutes Plaintiff’s claim that Defendant had access to Fallen. [Id.].

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                   2. Substantial / Striking Similarity

           To establish substantial similarity, Plaintiff “must satisfy a two-pronged test: (1) an

   extrinsic, objective test, and (2) an intrinsic, subjective test.” Lil’ Joe Wein Music, Inc. v. Jackson,

   245 F. App’x 873, 877 (11th Cir. 2007). Under the first prong, the Court objectively determines

   whether a plaintiff seeks to protect only uncopyrightable elements. Id.; Herzog, 193 F.3d at 1257.

   If so, a plaintiff’s claim fails and there is no need to move on. Id. If the Court moves on to the

   second prong, it then determines whether a reasonable jury would find that the protected

   expressions in the works are substantially similar. Id. In other words, would “an average lay

   observer [] recognize the alleged copy as having been appropriated from the copyrighted work.”

   Original Appalachian Artworks, Inc. v. Toy Loft, Inc., 684 F.2d 821, 829 (11th Cir. 1982). In sum,

   once any generalized, unprotected metaphors, messages, contexts, or ideas are disregarded, the

   infringement analysis examines whether the protected expression in the two works is substantially

   similar. See Vallejo, 833 F. App’x at 257. However, because Plaintiff has failed to plausibly allege

   access, she can only demonstrate unlawful copying by alleging “striking similarity between the

   original work and the alleged infringing work.” Davis, 2012 WL 12868729, at *3; [ECF 20 at 8–

   9]. Striking similarity is a higher standard and exists where the similarities are “so striking that the

   possibilities of independent creation, coincidence and prior common source are, as a practical

   matter, precluded.” Corwin v. Walt Disney World Co., 475 F.3d 1239, 1253 (11th Cir. 2007).

           “Courts can examine copyright claims for substantial similarity as to a work’s protected

   material at the motion to dismiss stage when a comparison of the undisputed works is possible.”

   Seven Oaks Millwork, Inc. v. Royal Foam US, LLC, 483 F. Supp. 3d 1192, 1196 n.3 (M.D. Fla.

   2020) (dismissing copyright infringement claims after conducting substantial similarity test where

   the undisputed works were attached to the briefing and were not highly technical); Sieger Suarez,



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   998 F. Supp. 2d at 1350 (analyzing a district court’s consideration of substantial similarity at the

   motion to dismiss stage and concluding the Eleventh Circuit has deemed it appropriate).

          Here, Plaintiff fails, again, to plausibly plead substantial, let alone striking, similarity for

   any of her counts. [ECF 42 ¶¶ 27–52]. The purported similarities between the allegedly infringing

   works and Plaintiff’s works are “inherently subjective and unreliable” because they are “random”

   and far-fetched similarities “found in very dissimilar works.” Herzog, 193 F.3d at 1257 (holding

   that plaintiff failed to show unlawful copying). Nevertheless, Defendant addresses each alleged

   similarity to comprehensively rebut Plaintiff’s insufficient allegations of copyright infringement.

          Count I: Plaintiff alleges the song “The Man,” as well as its accompanying video, used

   “the same words (albeit changing a few words here and there) to come up with a strikingly similar”

   expression of a woman facing adversity in a male-dominated world in Plaintiff’s “Ordinary

   Citizen.” [ECF 42 ¶ 28]. Plaintiff alleges that “Ordinary Citizen” is about “a patriarchal corporate

   system of corruption” where “a female [is] confronting adversity in a corporate environment.”

   [Id.]. Under the first prong of the substantial similarity test, the Court has already ruled that

   alleging unlawful copying of the “ubiquitous metaphor, found in numerous poems, songs, and

   other forms of expression” here is “insufficient” to plead copyright infringement. [ECF 20 at 8–9

   (citing examples)]. 8 Under the second prong, there is not a single line of protected expression that

   is similar between the two works. [Compare Ex. A at 1–2, with ECF 42-3 at 19]. The only

   similarity is that both works include the word “running.” [Id.]. Use of the same single word does

   not amount to copyright infringement. See 37 C.F.R. § 202.1(a); [ECF 20 at 8–9].




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     Plaintiff refutes the Court’s examples, arguing they are “completely different context[s]” because
   they are not about the corporate system. [ECF 42 ¶ 28]. But “The Man” is also not about the
   corporate system. [Ex. A at 1–2].

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          Count II: Plaintiff alleges the song “Who’s Afraid of Little Old Me?” infringes upon

   Plaintiff’s poem “Whirlwind” because they both include the phrase they/you “caged me and told

   me I’m crazy.” [ECF 42 ¶ 30]. Under the first prong, a short phrase, on its own, is not afforded

   copyright protection and thus, cannot be infringed upon. See 37 C.F.R. § 202.1(a); Vallejo, 833 F.

   App’x at 259 n.3; [ECF 20 at 8–9]. Under the second prong, Plaintiff misstates the song lyric (it is

   actually “You caged me and then you called me crazy”) and there is not a single other similarity.

   [Compare Ex. A at 16–17, with ECF 42-3 at 18]. 9

          Count III: Plaintiff alleges the song “My Tears Ricochet” infringes on Plaintiff’s poems

   “Scorpion” and “Beams of Light” because it allegedly uses the same theme of “a person

   communicating with someone who is deceased.” [ECF 42 ¶ 32]. 10 Under the first prong, the Court

   already held that “the theme of communicating with a loved one who has passed” is a “concept or

   theme [that] is not unique or original” and thus, cannot be infringed upon. [ECF 20 at 9 (citing

   examples)], and objectively this is not the theme of “My Tears Ricochet.” Under the second prong,

   when comparing the works, there are no similarities in any protected expression. [Compare Ex. A

   at 3, with ECF 42-3 at 17, 21].

          Plaintiff also alleges “My Tears Ricochet” infringes on Plaintiff’s poem “Innocence Lost”

   because (1) it copies Plaintiff’s “insinuat[ion] that her lover is trying to conceal his sadness by the



   9
     Plaintiff alleges the “context” of these works of “a woman being gaslighted and attacked” is
   furthered in Plaintiff’s work by referencing a woman named Nellie Bly. [ECF 42 ¶ 30]. She claims
   that Defendant’s music video for “Fortnight” “used the same context” from Nellie Bly’s work by
   “portray[ing] a woman like Nellie Bly typing in an office and depicting a person in an insane
   asylum.” [Id.]. Whether the music video is similar to Nellie Bly’s work (it is not) is irrelevant, and
   Plaintiff later explains that she is “not claiming infringement with her written poetry about Nellie
   Bly” and the “passages and images of Nellie Bly were included . . . for added context.” [Id. ¶ 61].
   10
    Plaintiff also states that the song “My Tears Ricochet” infringes on Plaintiff’s poem “Sky Tinted
   Water” but then fails to include any allegations of infringement. [ECF 42 ¶ 32].

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   pain the lover caused is also being reflected unto himself” and (2) the lyric “She’s laughing up at

   us from Hell” is “strikingly similar” to Plaintiff’s line “I heard her laughter from above (heaven).”

   [ECF 42 ¶ 32]. A comparison of these works shows that “My Tears Ricochet” does not include the

   same alleged theme [compare Ex. A at 3, with ECF 42-3 at 16], and the cited lyric is not in “My

   Tears Ricochet.” [Ex. A at 3]. Plaintiff also alleges “My Tears Ricochet” infringes on her poem

   “Gaslight” because it uses the same metaphor of “being ‘submerged’ under water and both losing

   everything.” [ECF 42 ¶ 32]. Under the first prong, metaphors are not copyrightable and cannot be

   infringed upon. Sanitech Sys., Inc., 217 F. Supp. 2d at 1246; Herzog, 193 F.3d at 1257; [ECF 20

   at 8–9]. Under the second prong, Plaintiff alleges no other similarities.

             Count IV: Plaintiff alleges the songs “Hoax” and “Illicit Affairs” infringe on her poem

   “Sky Tinted Water” because (1) “Hoax’s” lyric “your faithless love is the only hoax I believe in”

   is allegedly “a rephrase of a person being falsely led to believe in love as written in Sky Tinted

   Water” and (2) “Illicit Affairs’” lyrics “you showed me colors you knew I couldn’t see with anyone

   else” and “I made you my temple, my mural, my sky” 11 are “strikingly similarly” to “Sky Tinted

   Water’s” line “will you show me how to complement the sky.” [ECF 42 ¶ 34]. Under the first

   prong, Plaintiff alleges a “rephrase” of a concept, which is not copyrightable and thus cannot be

   infringed upon. Sanitech Sys., Inc., 217 F. Supp. 2d at 1246; Herzog, 193 F.3d at 1257; [ECF 20

   at 8–9]. Under the second prong, the word “love” does not amount to similarities of protected

   expression. [Compare Ex. A at 6–7, with ECF 42-3 at 12]; 37 C.F.R. § 202.1(a); [ECF 20 at 8–9].

             Count V: Plaintiff alleges the song “Midnight Rain” infringes on Plaintiff’s poem

   “Delusional Reality” because it includes “a unique expression” of “physically being the

   rain/wave/ocean, rather being in the rain or storm.” [ECF 42 ¶ 36]. It is unclear whether Plaintiff


   11
        This lyric is not in “Illicit Affairs.” [Ex. A at 7].

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   also claims the song “Long Story Short” infringes her poem [id.], but Defendant addresses it as

   well in an abundance of caution. Here, Plaintiff’s “expression” is the metaphor in her poem. Under

   the first prong, the Court has ruled that alleging unlawful copying of a “ubiquitous metaphor, found

   in numerous poems, songs, and other forms of expression” is “insufficient” to plead copyright

   infringement. [ECF 20 at 8–9]; see Brad Paisley, Perfect Storm, on Moonshine in the Trunk (Arista

   Nashville 2014); see also Sanitech Sys., Inc., 217 F. Supp. 2d at 1246; Herzog, 193 F.3d at 1257.

   Under the second prong, Plaintiff claims that the “Long Story Short” lyric “my waves meet your

   shore” “was copied verbatim” from Plaintiff’s “Delusional Reality” line “my waves crash your

   shore.” [ECF 42 ¶ 36; compare Ex. A at 31–32, with ECF 42-3 at 15]. Clearly, this lyric is not

   “copied verbatim” [id.], and even if it was, Plaintiff’s phrase describing what an ocean’s waves

   actually do in real life is not copyrightable. 37 C.F.R. § 202.1(a). There are no other lines shared

   between the works. [Compare Ex. A at 14–15, 31–32, with ECF 42-3 at 15].

          Count VI: Plaintiff alleges the song “Death By A Thousand Cuts” “cop[ies] the unique way

   Plaintiff expressed elements” in her poem “Black Cat” to “describe[] being ‘cut’ when in actuality,

   it’s not physical pain but rather emotional pain.” [ECF 42 ¶ 38]. Under the first prong, the Court

   has ruled that alleging unlawful copying of a “ubiquitous metaphor, found in numerous poems,

   songs, and other forms of expression” between these two works is “insufficient” to plead copyright

   infringement. [ECF 20 at 8–9]; see Rockwell, Knife, on Somebody’s Watching Me (Motown

   1984); see also Sanitech Sys., Inc., 217 F. Supp. 2d at 1246; Herzog, 193 F.3d at 1257. Under the

   second prong, Plaintiff does not allege the works are substantially or strikingly similar, and a

   cursory comparison shows they are not. [Compare Ex. A at 18–19, with ECF 42 ¶ 38].

          Count VII: Plaintiff alleges the song “Robin” infringes on Plaintiff’s poems “Innocence

   Lost” and “Ingenue” because these works “are about a child growing up in a world that will



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   eventually turn mean and cruel and so the child needs guidance and protection, but that one day,

   she will turn into a lion and no longer need such care.” [ECF 42 ¶ 40]. Under the first prong, the

   Court ruled that alleging unlawful copying of a “ubiquitous metaphor, found in numerous poems,

   songs, and other forms of expression” is “insufficient” to plead copyright infringement. [ECF 20

   at 8–9]; see Katy Perry, Roar, on Prism (Capitol 2013). Under the second prong, the lyrics are

   objectively not at all similar to Plaintiff’s lines. [ECF 42 ¶ 40]. When comparing the works, there

   is not a single similar line. [Compare Ex. A at 20, with ECF 42-3 at 16, 22–24].

             Count VIII: Plaintiff alleges the song “The Great War” “used the same words to convey

   the same expression” of “fuel to ignite desire to fight each other” in Plaintiff’s poem “The Fire.”

   [ECF 42 ¶ 42]. Under the first prong, a metaphor of fire igniting one’s passion or desire is not

   unique protected expression and is insufficient to allege copyright infringement. See [ECF 20 at

   8–9]; Sean Kingston, Fire Burning, on Tomorrow (Epic 2009); 17 U.S.C. § 102(b). Under the

   second prong, the lyrics “diesel is desire” and “now I breathe the fire each time we talk” 12 are not

   at all similar to Plaintiff’s line “anger fuels our desire . . . I’m fighting fire with fire . . . pick your

   battles wisely, they say.” [ECF 42 ¶ 42]. The only similarity is that both works use the words “fire”

   and “desire.” [Compare Ex. A at 21–22, with ECF 42-3 at 14]. Again, alleged copying of single

   words does not constitute copyright infringement. 37 C.F.R. § 202.1(a); [ECF 20 at 8–9].

             Count IX: Plaintiff alleges the music video for “Cardigan” infringes on Plaintiff’s poem

   “Breaking Waves” because the video “depicts a person swimming in an ocean looking for

   something to calm her” and Plaintiff’s poem is about “being stranded in an ocean looking for

   something to calm her.” [ECF 42 ¶ 44]. Under the first prong, the idea of someone being stranded

   in the ocean and looking to other things to calm them is neither unique nor a protectible idea, and


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        This lyric is not in “The Great War.” [Ex. A at 21–22].

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   as this Court has held, is insufficient to plead copyright infringement. [See ECF 20 at 8–9]; see

   also CAST AWAY (20th Century Fox 2000), LIFE OF PI (20th Century Fox 2012); 17 U.S.C.

   § 102(b). Under the second prong, there is no remaining protected expression to compare.

          Count X: Plaintiff alleges the songs “Clara Bow”; “Down Bad” 13; and “Guilty as Sin?”

   infringe on Plaintiff’s poem “Devious Minds” because (1) “Clara Bow” “paraphrase[s]” Plaintiff’s

   theme about “a person who is being worshipped yet they are being deceitful” and (2) “Guilty as

   Sin?” “questions whether she is guilty for imagining things” like “Devious Minds,” which

   “questions thoughts about the world and whether or not she is devious.” [ECF 42 ¶ 46]. Under the

   first prong, themes—assuming these works share the same themes (they do not)—are not protected

   expression and cannot be infringed upon. 17 U.S.C. § 102(b); Herzog, 193 F.3d at 1257; [see ECF

   20 at 8–9]; see also Elton John, Candle In The Wind, on Goodbye Yellow Brick Road (DJM 1973).

   Under the second prong, the lyrics are not at all similar to Plaintiff’s lines. 14 [ECF 42 ¶ 46; compare

   Ex. A at 25–30, with ECF 42-4 at 20].

          Count XI: Plaintiff alleges the songs “Right Where You Left Me” and “It’s Time To Go”

   infringe upon Plaintiff’s poem “Stagnate” because they share the phrase “it’s time to go.” 15 [ECF

   42 ¶ 48]. Plaintiff alleges the songs copy her concept about “waiting at a bar realizing it was time

   for them to move on, yet the person ‘at the bar’ didn’t realize this.” [Id.]. Under the first prong,



   13
      Plaintiff includes “Down Bad” as an allegedly infringing work, but provides no factual
   allegations of such infringement. [ECF 42 ¶ 44].
   14
      Plaintiff also includes an excerpt from her poem “Noah” but does not assert copyright
   infringement of this poem. [ECF 42 ¶ 44].
   15
     Plaintiff includes a line from another poem (“Scorpion”) but does not include any allegations as
   to how Defendant infringed that work. In any event, a cursory comparison of this poem and the
   songs shows there are no similarities between the works [compare Ex. A at 10–13, with ECF 42-
   3 at 17], and the idea of waiting at a bar is not copyrightable, as explained above.

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   concepts and short phrases are not protected expression and cannot be infringed upon. 17 U.S.C.

   § 102(b); 37 C.F.R. § 202.1(a); Herzog, 193 F.3d at 1257. Under the second prong, the lyrics “I’m

   still at the restaurant, right where you left me “ and “it’s time to go” (from two different songs) are

   not substantially or strikingly similar to Plaintiff’s lines “It’s time to go/ when will you let me go?/

   I continue to drive forward, but you wont let me go” and “I waited at the bar/ Didn’t know by then

   you were gone too far.” [ECF 42 ¶ 48; compare Ex. A at 10–13, with ECF 42-3 at 25].

            Count XII: Plaintiff alleges the song “Invisible String” infringes on the poem “Invisible

   Matter” because they both “discuss[] being led by an invisible power bringing both good and bad

   things.” [ECF 42 ¶ 50]. Plaintiff also alleges “Invisible String” infringes on the poem “Time”

   because the song “us[es] the same words but changing a few here and there” to “convey the same

   meaning, questioning time” and that “[t]ime can hurt.” [Id.]. Under the first prong, metaphors are

   not protected expression and cannot be infringed upon. 17 U.S.C. § 102(b); Herzog, 193 F.3d at

   1257. The claim also fails because it is simply untrue (by any reasonable standard) that these works

   share the same message or have similar lines. [Compare Ex. A at 4–5, with ECF 42-3 at 10–12].

   Under the second prong, the single words “invisible” and “time” are not protected under copyright

   law. Sanitech Sys., Inc., 217 F. Supp. 2d at 1246; 37 C.F.R. § 202.1(a); [ECF 20 at 8–9].

            Count XIII: Plaintiff alleges the Instagram caption 16 introducing Artist’s album The

   Tortured Poets Department infringes on Plaintiff’s introduction to her poetry book Fallen by using

   “the same words (albeit changing a few)” and claims Defendant “simply paraphrased the

   introduction written by the Plaintiff.” [ECF 42 ¶ 52]. This is simply not true. A cursory comparison

   shows there are no similarities in the text of the two excerpts, and no reasonable actor would

   disagree. [See id.; ECF 42-4 at 5]. Further, the common purpose of an introduction is to explain


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        Available at: https://www.instagram.com/p/C57c1DWMkf_/?img_index=1.

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   the purpose and inspiration of the work, and there are limited ways to present those sentiments.

   Thus, any alleged similarities (there are none) are not protectible because “standard expressions

   that naturally follow from the idea for a work of authorship” are not copyrightable. U.S.

   COPYRIGHT OFF., COMPENDIUM OF U.S. COPYRIGHT OFF. PRACS. § 313.3(B) (3d ed. 2021).

                                                    ***

           Finally, the SAC includes conclusory statements that the allegedly infringing songs are

   “strikingly similar” to Plaintiff’s poems. However, Plaintiff’s own allegations contradict this

   because she admits that the compared works are not nearly identical—as required for striking

   similarity—and that discrepancies exist between the works, describing the alleged copying as a

   “rephrase”; “paraphrase”; or “changing a few” words around. [ECF 42 ¶¶ 23, 28, 32, 34, 46, 50,

   52], see Davis, 2012 WL 12868729, at *4 (concluding that admitting there are slight alterations or

   minor changes between the at-issue works fails to adequately allege striking similarity). Cf. Olem

   Shoe Corp. v. Washington Shoe Corp., 591 F. App’x 873, 885 (11th Cir. 2015) (holding that two

   works are “strikingly similar” only where they are “virtually identical”). In comparing the works,

   no trier of fact could rationally determine they are substantially similar, let alone strikingly similar.

   [Compare Ex. A, with ECFs 42, 42-3, 42-4]. Dismissal is thus required.

       D. The Court Should Dismiss Seven of Plaintiff’s Claims with Prejudice Because They
          are Time-barred.

           Notwithstanding the fact that all of Plaintiff’s claims are frivolous and entirely baseless,

   more than half of them are also time-barred. “In the Eleventh Circuit, dismissal on statute of

   limitations grounds is appropriate if it is apparent from the face of the complaint that the claim is

   time-barred.” Athos Overseas, Ltd. v. Youtube, Inc., No. 1:21-cv-21698, 2022 WL 910272, at *4

   (S.D. Fla. Mar. 29, 2022) (dismissing copyright infringement claims as time-barred). Here, the

   facts alleged in the SAC make clear that seven of Plaintiff’s claims are time-barred.


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          Copyright infringement claims must be “commenced within three years after the claim

   accrued.” 17 U.S.C. § 507(b). A copyright infringement claim accrues when a plaintiff “learned

   of or, in the exercise of reasonable diligence, should have learned of Defendant[’s] []

   infringement.” Sieger Suarez, 998 F. Supp. 2d at 1354; see Athos Overseas, 2022 WL 910272, at

   *4 (“A copyright infringement cause of action accrues when a copyright owner knew or should

   have known of the alleged infringement.”). “‘Should have learned,’ means whether a reasonably

   prudent person in Plaintiff’s position would have become aware of the alleged infringement.”

   Sieger Suarez, 998 F. Supp. 2d at 1355.

          Plaintiff filed her complaint on April 10, 2024. [ECF 1-1]. Thus, Plaintiff can only assert

   copyright infringement claims that accrued after April 10, 2021. However, seven of the claims

   accrued in 2019 and 2020, as they are based on songs on the albums Lover, folklore, and

   evermore. 17 Lover was released on August 23, 2019, folklore was released on July 24, 2020, and

   evermore was released on December 11, 2020. [See ECF 42-4 at 1]. Each album release was

   covered by news and media outlets, are widely available on streaming platforms, and “have been

   exceedingly popular both domestically and abroad,” so “it is unreasonable to assert that [P]laintiff

   had zero exposure to [these songs] in the [four or five] years following [their] release.” Goldberg

   v. Cameron, 482 F. Supp. 2d 1136, 1148 (N.D. Cal. 2007) (dismissing copyright infringement

   claims as time-barred and holding plaintiff’s “asserted lack of knowledge” was unreasonable).

                                             CONCLUSION

          For the foregoing reasons, the SAC should be dismissed with prejudice.



   17
      Specifically, two counts arise from songs on the album Lover [ECF 42 ¶¶ 27–28 (Count I),
   ¶¶ 37–38 (Count VI)]; four counts arise from songs on the album folklore [ECF 42 ¶¶ 31–32
   (Count III), ¶¶ 33–34 (Count IV), ¶¶ 43–44 (Count IX), ¶¶ 49–50 (Count XII)], and one count
   arises from a song on the album evermore [ECF 42 ¶¶ 47–48 (Count XI)].

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   Dated: January 21, 2025                       Respectfully submitted,


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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 21, 2025, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF.


                                                   By: /s/ Aaron Blynn
                                                         Aaron Blynn
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